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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

   UNITED STATES OF AMERICA,                     )
                                                 )
                                                 )
   v.                                            )
                                                 ) Docket no. 03-cr-18-P-S
   RAYMOND WOODBURN,                             )
                                                 )
                                                 )
                         Defendant.              )
                                                 )


        MEMORANDUM OF LAW IN SUPPORT OF ORDER ON MOTION FOR
                       SENTENCE REDUCTION


          This Memorandum provides the Court’s written explanation for its decision to

   GRANT Defendant’s Amended Motion to Reduce Sentence and thereby reduce the term

   of imprisonment to 66 months or time served as of May 2, 2008, whichever is greater.

          Defendant Raymond Woodburn was resentenced by this Court on July 16, 2006

   following a Booker remand from the First Circuit.                  Both at the original

   September 4, 2004 sentencing and at the July 16, 2006 resentencing, the Court utilized

   the low end of the guideline range as the starting point for determining the substantial

   assistance downward departure. Although the Government appealed the results of the

   original sentencing, it does not appear that they specifically challenged the Court’s use of

   the low end of the guideline range as the starting point for the downward departure. In

   any event, on remand, the Government did not request that the Court use the 120-month

   statutory mandatory minimum as the starting point for determining any downward

   departure. Rather, the Government indicated that it was not pressing the issue of the

   applicability of the statutory mandatory minimum and recommended a sentence that was
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   15 percent below the low end of the guideline range (108 to 135 months). (See July 17,

   2006 Tr. at 6-7.) Ultimately, the Court granted a 25 percent departure from the 108-

   month mark, which represented the low end of the guideline range without considering

   the 120 month mandatory minimum. This resulted in a sentence of 81 months. The

   Government did not appeal.

          Retroactive application of the recently amended Guidelines pertaining to crack

   cocaine, results in a lower guideline range of 87 to 108 months for this Defendant.

   Nonetheless, the Government argues and the Probation report indicates that application of

   USSG § 5G1.1 would require that amended range to be modified to reflect the 120-month

   statutory mandatory minimum. Defendant argues that the Court should follow its prior

   reasoning and rulings, which would result in a sentence of 66 months (a 25 percent

   departure off of 87 months). The Government argues that granting such a reduction

   would simply “compound the previous erroneous calculation of Defendant’s departure.”

   (Gov’t Response (Docket # 659) at 12.)

          In this case, the Court would undoubtedly be bound by the 120-month statutory

   mandatory minimum absent the application of 18 U.S.C. § 3553(e). However, § 3553(e)

   provides the Court with statutory authority to sentence below 120 months in accordance

   with the Sentencing Guidelines. In multiple other cases in which the statutory mandatory

   minimum was used to set the floor for a departure, this Court has summarily denied

   requests for sentence reductions based on the newly revised USSG § 1B1.10. See, e.g.,

   March 12, 2008 Order in United States v. Darcy Mowry (2-03cr-16); March 20, 2008

   Order in United States v. Bobby Lee Hughes (2-01-cr-108); April 22, 2008 Order in

   United States v. Michael Ayer (2-05-cr-11). However, the statutory mandatory minimum




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   was not so utilized in this case and, to the extent that was an error, the Government

   waived its objection both at the July 16, 2006 hearing and by not appealing the sentence

   imposed at that time.

          With respect to reduction in term of imprisonment as a result of an amended

   guideline range, the Guidelines state, in relevant part: “In making [a sentence reduction]

   determination, the court shall substitute only the amendments listed in subsection (c) for

   the corresponding guideline provisions that were applied when the defendant was

   sentenced and shall leave all other guideline application decisions unaffected.” USSG §

   1B1.10 (b)(1) (emphasis added). This provision makes clear that a sentence reduction

   proceeding prompted by a retroactive amendment cannot be used to correct other

   Guideline application decisions made at the sentencing. In other words, to the extent

   either party chose not to appeal an erroneous application of other portions of the

   Guidelines, they remain bound by that application.

          Under the unique facts presented by this case, the Court believes the Government

   remains bound by its concession to allow the use of the low end of the guideline range as

   the starting point for determining the departure, which essentially was a concession to not

   apply USSG § 5G1.1. In the Court’s assessment, to hold otherwise would require

   allowing both the Government and the Defendant to reexamine and reargue erroneous

   Guideline calculations despite the failure to mount any appeal to those errors. The Court

   believes that this would open a Pandora’s box.

          Taking into account all of the directives found in 18 U.S.C. §§ 3582(c) & 3553(a)

   as well as the applicable Guidelines, the Court will reduce the Defendant’s sentence to 66

   months or time served as of May 2, 2008, which reflects “a reduction comparably less




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   than the amended guideline range” while leaving all other guideline application decisions

   unaffected. USSG § 1B1.10(b)(2)(B). In making this decision to further reduce the

   Defendant’s sentence, the Court has considered both public safety considerations and

   post-sentencing conduct. The Court notes that given the Defendant’s poor health, he is

   unlikely to pose any danger to the community.

          The Court also notes that it has considered the Bureau of Prisons’ request for a ten

   day delay in sentences that may require the Bureau of Prisons to take immediate steps

   toward releasing the Defendant. (See Feb. 13, 2008 letter from Director Lappin to Hon.

   Julie E. Carnes.) In this case, the Court’s Order will be made effective as of May 2, 2008

   in order to provide the Bureau of Prisons time to process the Court’s Order and allow for

   some planning of the Defendant’s transition to supervised release.

          SO ORDERED.

                                                       /s/ George Z. Singal
                                                       Chief U.S. District Judge

   Dated this 24th day of April, 2008.




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